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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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                                                            :
 THE UNITED STATES OF AMERICA,                              :
                                                            :
                                                            :
 v.                                                         :   18-CR-108-EAW
                                                            :
 ROBERT C. MORGAN, et al.                                   :
                                                            :
                                     Defendants.            :
                                                            :
                                                            :
------------------------------------------------------------x

   NOTICE OF MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR
 VIOLATION OF THE SPEEDY TRIAL ACT AND VIOLATION OF MR. MORGAN’S
             CONSTITUTIONAL RIGHT TO A SPEEDY TRIAL

        PLEASE TAKE NOTICE that the undersigned will move this Court at a date and time to

be determined by this Court, pursuant to Federal Rule of Criminal Procedure 12, Local Rule of

Criminal Procedure 12, and Local Rule of Civil Procedure 7, for an order granting the motion of

Defendant Robert C. Morgan (“Mr. Morgan”) and dismissing the superseding indictment with

prejudice pursuant to the Speedy Trial Act and the constitutional right to a speedy trial.

        In further support of this motion, Mr. Morgan relies upon the accompanying

Memorandum of Law, the Affidavit of Robert Hyde, and the Declaration of Joel M. Cohen with

Exhibits A–H. A proposed order is also submitted.

        Pursuant to Local Rule 7(a)(1), Mr. Morgan states that he intends to file and serve reply

papers as needed. Mr. Morgan reserves the right to file, with the Court’s permission, additional

papers in connection with the evidentiary hearing on this Motion.



Dated: January 31, 2020
       New York, New York
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